           Case 1:23-cv-01346-JSR Document 69 Filed 10/20/23 Page 1 of 3




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 SECURITIES AND EXCHANGE
 COMMISSION,
                                                 Civil Action No. 23 Civ. 1346 (JSR)
                       Plaintiff,
        v.
                                                 Hon. Jed S. Rakoff
 TERRAFORM LABS, PTE. LTD. and DO
 HYEONG KWON,


                       Defendants.



   NOTICE OF DEFENDANTS’ MOTIONS FOR SUMMARY JUDGMENT AND TO
              EXCLUDE EXPERT OPINIONS UNDER DAUBERT

       PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 56, paragraph 2(d) of the

Individual Rules of Practice for the Honorable Jed S. Rakoff, and paragraph (E) of the case

management plan for the above-captioned case (Dkt. No. 44), Defendants intend to move for

summary judgment (the “Motion”) on all claims in the Amended Complaint, on the following

grounds:

       (1) There is no genuine issue of material fact that the SEC is precluded from claiming that
           Defendants offered or sold “securities” within the meaning of the Securities Act of
           1933 or the Securities Exchange Act of 1934;


       (2) There is no evidence to support the SEC’s claim that Defendants offered or sold
           “securities” within the meaning of the Securities Act of 1933 or the Securities
           Exchange Act of 1934;


       (3) There is no genuine issue of material fact that, even if Defendants were found to have
           offered or sold securities, such offers and/or sales were exempt from the registration
           requirement of Section 5 of the Securities Act of 1933;
            Case 1:23-cv-01346-JSR Document 69 Filed 10/20/23 Page 2 of 3




       (4) There is no genuine issue of material fact that Defendants did not offer or sell any
           unregistered security-based swaps; and


       (5) There is no evidence to support the SEC’s claims that Defendants made, with scienter
           or negligence, any materially false or misleading statement in, or in connection with,
           the offer or sale of any digital asset.



Pursuant to the case management plan, the Motion shall be briefed and heard on the following

schedule:

       Defendants’ moving papers:           Served on or before October 27, 2023

       Plaintiff’s answering papers:        Served on or before November 10, 2023

       Defendants’ reply papers:            Served on or before November 17, 2023

       Oral argument:                       November 30, 2023 at 4:00 p.m.




                                               2
         Case 1:23-cv-01346-JSR Document 69 Filed 10/20/23 Page 3 of 3




       In addition, in accordance with the Court’s minute entry issued on October 20, 2023,

Defendants intend to move under Fed. R. Evid. Rules 702, 703, and Daubert v. Merrell Dow

Pharmaceuticals, 509 U.S. 579 (1993), on the following schedule:

       Defendants’ moving papers:           Served on or before October 27, 2023

       Plaintiff’s answering papers:        Served on or before November 7, 2023

       Defendants’ reply papers:            Served on or before November 10, 2023

       Daubert hearing:                     November 17, 2023 at 2:00 p.m.



Dated: October 20, 2023
       New York, New York

                                            Respectfully submitted,

                                            /s/ Douglas W. Henkin
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                                               3
